         Case 3:19-cv-00231-KGB Document 132 Filed 09/18/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

BRADLEY WASHAM                                                                     PLAINTIFF

v.                               Case No. 3:19-cv-00231 KGB

BNSF RAILWAY COMPANY                                                             DEFENDANT

                                    NOTICE OF HEARING

       The Court will hold a hearing regarding the October 19, 2020, trial setting in this matter

with the parties via telephone on Monday, September 21, 2020, at 1:30 p.m. C.T. The call-in

information will be provided by the Court to the parties.

       It is so ordered this 18th day of September, 2020.


                                             ___________________________________
                                             Kristine G. Baker
                                             United States District Judge
